Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 1 of 13 PageID #: 7




            Exhibit A
Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 2 of 13 PageID #: 8
Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 3 of 13 PageID #: 9
Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 4 of 13 PageID #: 10
Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 5 of 13 PageID #: 11
Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 6 of 13 PageID #: 12
Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 7 of 13 PageID #: 13
Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 8 of 13 PageID #: 14
Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 9 of 13 PageID #: 15
Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 10 of 13 PageID #: 16
Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 11 of 13 PageID #: 17
Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 12 of 13 PageID #: 18
Case 4:15-cv-00626-ALM Document 1-2 Filed 09/14/15 Page 13 of 13 PageID #: 19
